943 F.2d 58
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Bryant STEWART, Petitioner-Appellant,v.Richard THORNBURGH, J. Michael Quinlan, Gary L. Henman,Mayor, Washington, D.C., RespondentsAppellees.
    No. 91-3048.
    United States Court of Appeals, Tenth Circuit.
    Sept. 5, 1991.
    
      Before LOGAN, JOHN P. MOORE and BALDOCK, Circuit Judges.
    
    
      1
      ORDER AND JUDGMENT*
    
    PER CURIAM
    
      2
      Petitioner Bryant Stewart was convicted of criminal violation of the District of Columbia Code and was subsequently transferred to the United States Penitentiary, Leavenworth, Kansas (USPL), to serve his sentence.   The district court denied his petition for habeas corpus, filed pursuant to 28 U.S.C. § 2241.   Stewart v. Thornburgh, No. 90-3508-R (D.Kan. Jan. 25, 1991).   Petitioner appeals pursuant to 28 U.S.C. 2253.1
    
    
      3
      Each of the claims petitioner raises on appeal has been considered and was found to be lacking in merit in Blango v. Thornburgh, --- F.2d ----, No. 91-3047 (10th Cir.  Aug. 16, 1991).   The judgment of the United States District Court for the District of Kansas is AFFIRMED.
    
    
      
        *
         This order and judgment has no precedential value and shall not be cited, or used by any court within the Tenth Circuit, except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.   10th Cir.R. 36.3
      
      
        1
         In response to petitioner's notice of appeal, the district court found that the appeal was frivolous and not taken in good faith.   Based on this finding, the court denied petitioner leave to proceed in forma pauperis on appeal.   Dist.Ct.R. doc. 16.   However, petitioner's motion for in forma pauperis status on appeal is hereby granted
        After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.   See Fed.R.App.P. 34(a);  10th Cir.R. 34.1.9.   The case is therefore ordered submitted without oral argument.
      
    
    